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                                                           2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations

                                                                                                              FEB 21 2017
                                  United States District Cour:-. SOUlS oiSTRlcgfc^L FORNiA
                                          SOUTHERN DISTRICT OF CALIFORNIA                             lBY              nH.,' DEPUTY
             UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                      V.                                             (For Offenses Committed On or After November 1, 1987)
            DESHAWN TRAVIS TURNER (9)
                                                                        Case Number:        11CR1448 MMA

                                                                     MARTIN MOLINA
                                                                     Defendant’s Attorney
REGISTRATION NO.               25439298
□ ■
THE DEFENDANT:
IE1 admitted guilt to violation of allegation(s) No.        1-7

□ was found guilty in violation of allegation(s) No.                                                  after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation
                                  Unlawful use of a controlled substance and/or Failure to Test; VCCA (Violent Crime Control
             1-4                  Act)
              5                   Failure to participate in drug aftercare program
             6-7                  Committed a federal, state or local offense




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

                                                                        3/2017             ^7
                                                                     Dateof Imposition o£8entenci



                                                                     HON. MICHAEL M. ANELLO
                                                                     UNITED STATES DISTRICT JUDGE




                                                                                                                  11CR1448 MMA
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:                DESHAWN TRAVIS TURNER (9)                                                Judgment - Page 2 of 2
CASE NUMBER:              11CR1448 MMA

                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 ELEVEN (11) MONTHS




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □
 BJ    The court makes the following recommendations to the Bureau of Prisons:
          - PLACEMENT AT A FACILITY IN SOUTHERN CALIFORNIA.




       The defendant is remanded to the custody of the United States Marshal.
 □
       The defendant shall surrender to the United States Marshal for this district:
 □
        □ at                                A.M.              on
        □   as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 □     Prisons:
        □   on or before
        □   as notified by the United States Marshal.
        □    as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                      11CR1448 MMA
